Filed 01/15/19                                        Case 18-90258                                                                Doc 252
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                                                                                                     JAN 15 2019
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             8                                UNITED STATES BANKRUPTCY COURT
             9                                  EASTERN DISTRICT OF CALIFORNIA
            10                                               MODESTO DIVISION
            11                                                        Case No. 18-90258-E-7
            12                                                        Chapter 7
            13                                                        DCN: MF-6
            14
                                                                      Date: February 14, 2019
            15                                                        Time: 10:30 a.m.
                                                                      Place: Courtroom 33
            16                                                               501 1 Street, 6th Floor
                                                                             Sacramento, California
            17
                                                                              Hon. Ronald H. Sargis
            18

            19        DEBTOR IN POSSESSION'S EVIDENTIARY HEARING BRIEF IN SUPPORT OF
                         DEBTOR'S MOTION TO AVOID JUDICIAL LIEN OF HELEN MCABEE
            20

            21                                          I.       INTRODUCTION

            22            The Motion to Avoid Judicial Line of Helen McAbee (herein "Motion") (Dckt. No. 111) turns
            23   completely on the valuation of the underlying real property, known as 83 Sanguinetti Court,
            24   Copperopolis, California (the "Property"). The evidence shows that the Property is worth not more
            25   than $1,000,000 and because the senior lien plus the homestead total $1,000,000, McAbee has no
            26   value to support its lien, the lien should be avoided in its entirety.
            27                                                 II.     FACTS
            28           The Debtor brings this Motion to Avoid the Lien of Helen McAbee in the amount of

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             1 $770,000, pursuant to Bankruptcy Code section 522(f) and to preserve the lien for Debtor's benefit.

             2 Debtor's Motion recites that the property, his residence, is subject to a first deed of trust in the

             3 approximate amount of $925,000, that he is entitled to a homestead exemption of $75,000, and that

             4 the property has a value on the date of bankruptcy (April 13, 2018) of $1,160,027. The value has

             5   been refined by the bids of two contractors for major deck repair, averaging sum of $150,000.

             6 Debtor has submitted the appraisals of Jack Paddock and Christine D. Rodriguez and in the amount

             7   of $1,090,000 and 1,250,000 respectively (the latter not considering the aforesaid cost of deck

             8 repair). Ms. Rodriguez's appraisal does consider the cost of deck repair, costs of sale are generally

             9 estimated at 7%, reducing the value of the lien to $35,000, which would reduce the value to

            10 $1,100,00. Because the total of the lien and the homestead exemption is the amount of $1 million,

            11   there is virtually no equity to support the McAbee lien.

            12                                           III. CONCLUSION

            13           Debtor submits that the McAbee lien should be avoided in its entirety. Debtor has not

            14 received McAbee's evidence in support of valuation and reserves the right to file a supplement to

            15 this trial brief commenting upon it.

            16 DATED: January 15, 2019                             MACDONALD FERNANDEZ LLP
            17                                                     By: Is! lain A. Macdonald
                                                                           lain A. Macdonald,
            18                                                             Attorneys for Debtor in Possession,
                                                                           ANDREAS ABRAMSON
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